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      Mad Dogg Athletics, Inc.
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  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
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 11   MAD DOGG ATHLETICS, INC.,                    Case No. 2:14-cv-06334 CAS (JCGx)
      a California corporation,
 12                                                [PROPOSED] DISMISSAL ORDER
                      Plaintiff,
 13         v.
 14   PARADIGM HEALTH & WELLNESS,
 15   INC., a California corporation d/b/a
      EXERPEUTIC FITNESS,
 16                   Defendant.
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 18
 19         WHEREAS, the Court is informed that the parties have resolved this action
 20   pursuant to a Settlement Agreement. Plaintiff Mad Dogg Athletics, Inc. hereby
 21   dismisses all of its claims against Defendant Paradigm Health & Wellness, Inc.
 22   d/b/a Exerpeutic Fitness with prejudice. Each party is to bear its own costs.
 23         IT IS HEREBY ORDERED that, pursuant to and in accordance with the
 24   terms of the Settlement Agreement, the Complaint of Plaintiff Mad Dogg Athletics,
 25   ///
 26   ///
 27   ///
 28   ///
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  1   Inc. shall be dismissed with prejudice with each party being responsible for their
  2   own attorneys’ fees and costs.
  3         SO ORDERED this 5th day of March, 2015.
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  6
                                                United States District Judge
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      MACEIKO IP
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  9   By /Theodore S. Maceiko/
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 10
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 11   Mad Dogg Athletics, Inc.
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      By /James E. Doroshow/
 14      James E. Doroshow
 15   Attorneys for Defendant
 16   Paradigm Health & Wellness, Inc.
      d/b/a Exerpeutic Fitness
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